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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,
                                                    Case No. 20-cv-00728
               Plaintiff,
                                                    Judge Mary M. Rowland
v.
                                                    Magistrate Judge M. David Weisman
HAPPYDEAL365, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Entertainment

One UK Ltd. (“eOne” or “Plaintiff”) hereby dismisses this action, with leave to reinstate within

one hundred and eighty (180) days, as to the following Defendants:

               Defendant Name                                         Line No.
                IDOSTAR Store                                            55
              LOFCA Official Store                                       60
                   Antallcky                                             98
                  LUCKSTY                                               101
   Case: 1:20-cv-00728 Document #: 49 Filed: 06/18/20 Page 2 of 2 PageID #:1833




Dated this 18th day of June 2020.    Respectfully submitted,

                                     /s/ Jake M. Christensen
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     Jake M. Christensen
                                     Isaku M. Begert
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